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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JIAN LIN a/k/a Remus Lin,                                    :
                                                             :
                                      Petitioner,            :       REPORT AND
                                                             :       RECOMMENDATION
                       - against -                           :
                                                             :       05 Civ 2707 (PKC) (RLE)
BRIAN FISCHER,                                               :
                                                             :
                                      Respondent.            :
                                                             <

To the HONORABLE P. KEVIN CASTEL, U.S.D.J.:

                                      I. INTRODUCTION

       Pro se petitioner, Jian Lin (“Lin”), a New York state prisoner at Sing Sing Correctional

Facility, filed a petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254 which was

received by the Pro Se Office in this District on February 22, 2005. Lin was convicted of three

counts of kidnapping in the first degree (N.Y. Penal Law §§ 135.25(1), (2)(a), (2)(b)), and

sentenced to three concurrent indeterminate terms of twenty-five years to life in prison.

       Lin contends that his incarceration violates the United States Constitution in that he was

denied effective assistance of counsel because his trial counsel failed to: (1) communicate or

discuss with him the evidence, possible defenses, or plea offers; (2) investigate several potential

defense witnesses; and (3) otherwise sufficiently prepare for trial. Petition under 28 U.S.C.

§ 2254 (“Pet.”) at 4. For the reasons set forth below, I recommend that the petition be DENIED.

                                       II. BACKGROUND

A.     Factual Background

       In the spring of 1998, Yu Xiao Ming (“Ming”) was introduced to Lin by his cousin

Tiffany Liu (“Liu”) and her then boyfriend. See Trial Transcript, June 12, 2000 (“6/12 Tr.”), at
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6. When they met, Ming was fourteen years old and Lin was twenty-three. Id. at 3, 7. Ming and

Lin started spending time together and speaking on the phone on a regular basis. Id. at 7. Ming

and Lin would also hang out with co-defendant Ding Wei Zeng a/k/a Kobe (“Kobe”), who Ming

was friends with through school. Id. On July 20, 1998, Ming, Lin, and Kobe were hanging out

together. Id. at 9. Ming suggested to Lin and Kobe that they play Mah Jong, a card game, and

bet $10 per hand. Id. When they were done playing, Lin told Ming that Ming owed him $3000,

and said he had to sign an IOU promising to pay the money back. Id. at 12-14. Ming signed the

IOU, which stated that the $3000 was due in full within one month. Id. at 14. In early October

1998, Lin asked Kobe, Kwong Chan (“Chan”), who also owed money to Lin, and a youth named

Tommy, who was a friend of Chan’s, to kidnap Ming for him. Id. at 208-09, 213. Lin told the

three boys to kidnap Ming from his school, take him to Kobe’s apartment, and then call Lin to let

him know they had Ming. Id. at 209-10. On October 13, 1998, Kobe, Chan, and Tommy went

to Ming’s school at approximately 2:55 p.m., and took him to Kobe’s apartment. Id. at 216-17.

When they got to Kobe’s apartment, Kobe telephoned Lin. Id. at 31. After Kobe’s call to Lin,

Ming tried to leave, but Kobe told him he was not allowed to leave until he paid the money he

owed. Id. at 35. Approximately two hours later, Kobe and the others left Ming alone in a room,

and he was able to call his uncle to tell him he had been kidnapped. Id. at 36-37.

       While Kobe and the others were holding Ming at the apartment, Kobe took Ming into a

room and beat him for about five to ten minutes. Id. at 38. Two to three hours later, Lin arrived

with an unidentified girl. Id. at 39. Lin asked Ming if “the matter had been taken care of,” and

Ming said “No.” Id. Lin slapped Ming across the face, and the girl hit Ming in the stomach. Id.

at 39-40. Then, Lin beat Ming, and the girl cut Ming on the neck with a pair of scissors. Id. at

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40. Lin left shortly after beating Ming, but the others held Ming overnight in the apartment. Id.

at 41-43. The following day, Ming’s father contacted the police to report that his son had been

kidnapped. Trial Transcript, June 19, 2000 (“6/19 Tr.”), at 12. The responding officers set up a

“trap and trace” to track phone calls to Ming’s home phone. 6/12 Tr. at 410. That evening, Kobe

took Ming to a pay phone and told him to call his father and ask for the money. Id. at 43-44.

The call was traced to 8102 Fifth Avenue, and several police officers responded to the location.

Id. at 391. The police arrived shortly after the trace was completed, and Kobe and the others

were arrested. Id. Lin was arrested twelve days later. Id. at 331.

       Daniel Ollen (“Ollen”), an 18-B attorney, was assigned to represent Lin sometime in late

1999 or early 2000. Declaration in Opposition to Petition For a Writ of Habeas Corpus (“Opp’n

Pet.”), Exh. C at 23. He took over the case from the attorney who had represented Lin at the

arraignment. Id. Lin first raised the issue of Ollen’s ineffectiveness at his sentencing hearing,

where he was represented by a third counsel. See Sentencing Transcript October 5, 2000 (“S.

Tr.”), at 18-19. Then, on September 18, 2001, Lin filed a motion to vacate his conviction

pursuant to New York Criminal Procedure Law § 440.10. Opp’n Pet. at Exh. A. He claimed that

Ollen had provided ineffective assistance of counsel in that he failed to: (1) “communicate or

discuss the evidence and possible defenses with [him]”; and (2) investigate “several potential

defense witnesses.” Id. Lin claimed that Ollen did not visit him in jail, respond to his letter, or

accept his phone calls. Id. He acknowledged that he saw Ollen at his court appearances and that

they were able to speak in the holding pen in the courtroom, but claimed that this provided no

privacy. Id. Lin also asserted that Ollen would not speak to him about the case or potential

defenses, but instead just told Lin he should plead guilty. Id. According to Lin, Ollen also

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refused to pursue any of the exculpatory witnesses suggested by Lin. Id.

       On February 5, 2002, Judge Corriero held a hearing to address Lin’s motion. Opp’n Pet.,

Exh. C at 1. At the hearing, Ollen testified that he had been a criminal trial lawyer for twenty

years, and that he had handled more than 1000 criminal cases. Id. at 15, 41. In preparation for

the case, Ollen said that he spoke with Lin’s previous lawyer twice, viewed videotaped

statements by the co-defendants in which they implicated Lin, and conferred with the prosecutor

about what evidence the people would present in their case. Id. at 23-24, 44-45, 50-52. Contrary

to Lin’s representations, Ollen testified that he had discussed the case in person with Lin “easily

ten” times prior to trial. Id. at 27. Ollen said he explained the plea offer to Lin and advised him

to take it since his chances of prevailing at trial “were almost zero,” but Lin decided to reject the

plea offer. Id. at 28-29, 37-38, 42-43, 65-66, 79-80. Ollen testified that Lin had wanted him to

call Liu and some of Lin’s co-defendants as witnesses, but that he had declined because he did

not think it would help Lin’s defense. Id. at 29-34. After talking to Liu at least 25 times, Ollen

decided that she would be “useless as a witness” because she was in a complete fog and did not

remember anything relevant to the defense. Id. at 31-37. As for Lin’s co-defendants, Ollen

testified that calling any of them as witnesses in Lin’s defense would be “malpractice” because

“every witness had given statements to the police, videotaped, that implicated . . . Lin.” Id. at

50. At the end of the hearing, Judge Corriero denied Lin’s motion to vacate the verdict, finding

that Ollen “adequately, if not more than adequately, represented [Lin].” Id. at 139.


B.     Procedural Background

        Lin appealed his conviction, which was affirmed by the Appellate Division on November



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13, 2003. People v. Lin, 766 N.Y.S.2d 845 (App. Div. 1st Dep’t 2003). On appeal, he raised

the same ineffective assistance of counsel claim raised in the instant habeas petition. See Opp’n

Pet., Exh. F. In rejecting his claim, the court found that “[t]he verdict was supported by legally

sufficient evidence.” Lin, 766 N.Y.S.2d at 845-46. The court also found that, “[t]he record

establishes that [petitioner] received effective assistance of counsel . . . Counsel properly

prepared for trial, provided appropriate advice concerning plea negotiations, and pursued a

reasonable trial strategy.” Id. Leave to appeal to the New York Court of Appeals was denied on

February 25, 2004. People v. Lin, 1 N.Y.3d 629 (2004).


                                       III. DISCUSSION


A.     Threshold Issues

       1.      Timeliness

       A petitioner must file an application for a writ of habeas corpus within one year of his

conviction becoming final. See 28 U.S.C. § 2244(d)(1). A conviction becomes final when the

time to seek direct review in the United States Supreme Court by writ of certiorari expires, that

is, ninety days after the final determination by the state court. Williams v. Artuz, 237 F.3d 147,

150 (2d Cir. 2001). Lin’s conviction became final on May 25, 2004. Lin’s habeas petition was

received in this Court’s Pro Se Office on February 22, 2005, and it is therefore timely.

       2.      Exhaustion

       Generally, a federal court may not consider a petition for habeas corpus unless the

petitioner has exhausted all state judicial remedies. See 28 U.S.C. § 2254(b)(1)(A). The



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exhaustion doctrine requires a habeas petitioner challenging a state conviction on federal grounds

to have presented his or her claims to the state courts first. See Daye v. Attorney Gen. of N. Y.,

696 F.2d 186, 191 (2d Cir. 1982) (en banc), cert. denied, 464 U.S. 1048 (1984). The claim must

not only be presented to the state courts, but the state courts must have notice of the federal

nature of the petitioner’s claim. Id. at 191. A petitioner may give such notice by:

       (a) reliance on pertinent federal cases employing constitutional analysis, (b)
       reliance on state cases employing constitutional analysis in like fact situations, (c)
       assertion of the claim in terms so particular as to call to mind a specific right
       protected by the Constitution, and (d) allegation of a pattern of facts that is well
       within the mainstream of constitutional litigation.

Id. at 194. Lin’s claim of ineffective assistance of counsel was presented to the state courts on

direct appeal. The federal nature of his claim was asserted in sufficient terms to “call to mind”

the protections of the United States Constitution. Id. Therefore, his claim has been exhausted.

B.     Merits of Lin’s Claims

       1.      Standard of Review

       The Anti-Terrorism and Effective Death Penalty Act (AEDPA) constrains a federal

habeas court’s ability to grant a state prisoner’s application for a writ of habeas corpus with

respect to claims adjudicated on the merits in state court. The Act limits issuance of the writ to

circumstances in which the state adjudication “resulted in a decision that was contrary to, or

involved an unreasonable application of, clearly established Federal law, as determined by the

Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1); see Williams v. Taylor, 529 U.S.

362, 412 (2000). A state court decision involves an “unreasonable application” of Supreme

Court precedent when the state court either “identifies the correct governing legal rule from [the


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Supreme] Court’s cases but unreasonably applies it to the facts” of the case, or “unreasonably

extends a legal principle from [the Court’s] precedent to a new context where it should apply.”

Id. at 407. “The ‘unreasonable application’ clause requires the state court decision to be more

than incorrect or erroneous;” rather, it must be “objectively unreasonable.” Lockyer v.

Andrade, 538 U.S. 63, 75 (2003). A state court decision is contrary to federal law if the state

court applies “a conclusion opposite to that reached by [the Supreme] Court on a question of law

or if [it] decides a case differently than [the Supreme] Court has on a set of materially

indistinguishable facts.” Williams, 529 U.S. at 413. Furthermore, in cases where the state court

decision rests on a factual determination, the federal court must find that the “decision . . . was

based on an unreasonable determination of the facts in light of the evidence presented in the State

court proceeding.” 28 U.S.C. § 2254(d)(2).

       2.      Merits of the Ineffective Assistance Claim

        “The benchmark for judging any claim of ineffectiveness must be whether counsel’s

conduct so undermined the proper functioning of the adversarial process that the trial cannot be

relied on as having produced a just result.” Strickland v. Washington, 466 U.S. 668, 686

(1984). To prevail on an ineffective assistance of counsel claim, a petitioner must show that his

counsel supplied deficient representation and that the petitioner suffered prejudice as a result of

that deficient performance. Id. at 687. Under the first prong, counsel is “strongly presumed to

have rendered adequate assistance and made all significant decisions in the exercise of

reasonable professional judgment.” Id. at 690. “[T]he defendant must overcome the

presumption that, under the circumstances, the challenged action might be considered sound trial



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strategy.” Id. at 689 (internal quotations omitted). In this regard, “strategic choices made after

thorough investigation of law and facts relevant to plausible options are virtually

unchallengeable.” Id. at 690. As to the second prong, the petitioner “must show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Id. at 694. Although Strickland sets forth two prongs, a reviewing

court need not address both. Instead, where the court can “dispose of an ineffective claim on the

ground of lack of sufficient prejudice,” the court should do so. Id. at 697. Here, petitioner has

failed to demonstrate either that his counsel provided ineffective assistance, or that he was

prejudiced therefrom.

       Lin alleges that counsel failed to communicate or discuss the evidence, possible defenses,

or plea offers with him, and failed to investigate potential witnesses. This assertion is

unsupported by the record. The trial court credited Ollen’s testimony that he had numerous

discussions with Lin which included the plea offer, and that Lin ignored the legal advice. The

court also credited Ollen’s testimony that he interviewed potential trial witnesses and concluded

that they would not be helpful to the defense. Finally, the court credited Ollen’s testimony that

the co-defendants would have made bad witnesses because they had all made statements

incriminating Lin. The court concluded that Ollen’s representation of Lin was adequate. These

findings are entitled to a presumption of correctness which Lin was required to rebut with clear

and convincing evidence. 28 U.S.C. § 2254(e)(1); see Leslie v. Artuz, 230 F.3d 25, 31 (2d Cir.

2000), cert. denied, 531 U.S. 1199 (2001). Lin has failed to meet his burden.

       Lin also makes a variety of other allegations against Ollen in support of his ineffective

assistance of counsel claim. He claims that Ollen did not provide him with copies of documents

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or evidence, as he requested, Opp’n Pet., Exh. A, did not thoroughly explain the evidence against

him, and did not give him a chance to review any of the video statements. Pet., Exh. D at 2. Lin

alleges he constantly asked Ollen to file motions for him and even handed him motions he

prepared, but Ollen did not file any of these motions and gave him no consideration whatsoever.

Id. Lin also compiled a list of contradictory testimony by various “pivotal” witnesses who

testified against him which he says Ollen did not take into consideration. Id. at 12. Lin has

failed, however, to show that any of these alleged acts or ommissions by Ollen were anything

more than strategic. “[A]ttorneys are entitled to a strong presumption of competence. The

reasonableness of the attorney’s actions must be judged to the extent possible without the

distorting effects of hindsight . . . and actions or omissions that might be regarded as sound trial

strategy do not amount to ineffective assistance.” Polanco v. United States, 2000 WL 1072303,

at *9 (S.D.N.Y. Aug. 3, 2000) (internal citations and quotations omitted) (claim that attorney

failed to file pretrial motions was procedurally defaulted but otherwise meritless).

       There is a “strong presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.” Strickland, 466 U.S. at 689. Lin’s counsel provided

adequate representation. He was aware of the facts of the case, investigated facts relevant to

Lin’s defense, informed Lin of the plea offer, and advised him as to whether he should accept the

offer. Moreover, Lin has failed to demonstrate that the outcome would have been different but

for the alleged deficiencies of counsel. Therefore, the state court’s denial of Lin’s ineffective

assistance of counsel claim was neither “contrary to” nor an “unreasonable application” Supreme

Court precedent. 28 U.S.C. § 2254(d)(1). Accordingly, Lin’s ineffective assistance of counsel

claim should be DENIED.

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